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     M11 2018                         IN UNITED STATES DISTRICT COURT
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                                FOR THE EASTERN DISTRICT OF VIRGINIA
0    UA DISTRICT COURT
     RICHMOND.VA                         RICHMOND DIVISION



        SECURITIES AND EXCHANGE
        COMMISSION,

                         PlaintifT,

               vs.



        EDWARD LEE MOODY,JR AND CM                      Civil Action No. 3:18-cv-00442-JAG
        CAPITAL MANAGEMENT,LLC,
                                                        UNDER SEAL
                         Defendants,

               and

        G.E. HOLDINGS CORP.,

                         Relief Defendant.




        MEMORANDUM OF LAW IN SUPPORT OF VhAmTlFF^S EXPARTE APPLICATION
           FOR A TEMPORARY RESTRAINING ORDER FREEZING ASSETS.ORDER TO
                            SHOW CAUSE.AND OTHER EMERGENCY RELIEF
